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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 24-mj-02924-RMM



    UNITED STATES OF AMERICA,

                   Plaintiff,

                   Vs.

    RAUL FERRARO PONS

                   Defendant,

                                          /



                         TEMPORARY NOTICE OF APPEARANCE

          NOTICE IS HEREBY GIVEN that Steven E. Amster, Esquire, 4000 Ponce

    de Leon Blvd. Suite 470, Coral Gables, Florida 33146, (305) 371-2455, enters his

    temporary appearance as Attorney of Record in the above-styled case. Please

    send all pleadings, correspondence, documents and the like in this case to the

    undersigned.



                                                    Respectfully Submitted,



                                                    /s/Steven E. Amster
                                                    STEVEN E. AMSTER, ESQUIRE
                                                    Attorney for the Defendant
                                                    4000 Ponce de Leon Blvd.
                                                    Suite 470
                                                    Coral Gables, Fl. 33146
                                                    Phone: (305) 371-2455
                                                    Florida Bar No. 005738
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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY the foregoing was filed on May 8, 2024, using the
    CM/ECF system.


                                               /s/Steven E. Amster
                                               STEVEN E. AMSTER, ESQ.
